                                                                                           Case 13-30352                               Doc 1                Filed 07/30/13 Entered 07/30/13 16:15:13                                                                          Desc Main
                                                                                                                                                              Document     Page 1 of 34
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                               Northern District of Illinois

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Revilla, Rodolfo                                                                                                                                                           Chapter 7
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               1,500.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   1,500.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $       0.00

                                                                     2.     The source of the compensation paid to me was:                                 Debtor             Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                     4.            I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:
                                                                            Bankruptcy Filing Fees, Credit Counseling Pre-filing and Personal Financial Management Post-filing Course Fees, Credit
                                                                            Report Fee.




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                      July 30, 2013                                                 /s/ Jesus G. Salazar
                                                                                                               Date                                                 Jesus G. Salazar
                                                                                                                                                                    Law Offices of Jesus G. Salazar, P.C.
                                                                                                                                                                    4111 South Richmond Street
                                                                                                                                                                    Chicago, IL 60632-0000
                                                                                                                                                                    (773) 227-6991 Fax: (773) 772-9097
                                                                                                                                                                    jesussalazar45@yahoo.com
                                                                                Case 13-30352          Doc 1     Filed 07/30/13 Entered 07/30/13 16:15:13                  Desc Main
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                                                                     B201A (Form 201A) (11/12)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                          OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
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                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                              Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
                                                                              Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                              Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                              The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
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                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $46 administrative fee: Total fee $281)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
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                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1167 filing fee, $46 administrative fee: Total fee $1213)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
                                                                             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                                                                                  Case
                                                                     B201B (Form 201B)     13-30352
                                                                                       (12/09)            Doc 1       Filed 07/30/13 Entered 07/30/13 16:15:13                         Desc Main
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                                                                                                                       United States Bankruptcy Court
                                                                                                                         Northern District of Illinois

                                                                     IN RE:                                                                                            Case No.
                                                                     Revilla, Rodolfo                                                                                  Chapter 7
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                     Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                      the Social Security number of the officer,
                                                                                                                                                                      principal, responsible person, or partner of
                                                                                                                                                                      the bankruptcy petition preparer.)
                                                                                                                                                                      (Required by 11 U.S.C. § 110.)
                                                                     X
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                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Revilla, Rodolfo                                                       X /s/ Rodolfo Revilla                                        7/30/2013
                                                                     Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                    X
                                                                                                                                                Signature of Joint Debtor (if any)                            Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
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                                                                                                                        Filed 07/30/13 Entered 07/30/13 16:15:13 Desc Main
                                                                     B1 (Official Form 1) (04/13)                         Document        Page 5 of 34
                                                                                                           United States Bankruptcy Court
                                                                                                             Northern District of Illinois                       Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Revilla, Rodolfo
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     9311                                                 (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      6123 S. Troy
                                                                      Chicago, IL
                                                                                                                             ZIPCODE 60629                                                                                   ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Cook
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case 13-30352               Doc 1         Filed 07/30/13 Entered 07/30/13 16:15:13                                    Desc Main
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                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Revilla, Rodolfo

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X   /s/ Jesus G. Salazar                                           7/30/13
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                    Case 13-30352                    Doc 1       Filed 07/30/13 Entered 07/30/13 16:15:13                                             Desc Main
                                                                     B1 (Official Form 1) (04/13)                                  Document     Page 7 of 34                                                                                        Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Revilla, Rodolfo

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Rodolfo Revilla                                                                    Signature of Foreign Representative
                                                                          Signature of Debtor                                     Rodolfo Revilla
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          July 30, 2013
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Jesus G. Salazar                                                              preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Jesus G. Salazar                                                                  110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          Law Offices of Jesus G. Salazar, P.C.                                             pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          4111 South Richmond Street                                                        chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Chicago, IL 60632-0000                                                            notice of the maximum amount before preparing any document for filing
                                                                          (773) 227-6991 Fax: (773) 772-9097                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          jesussalazar45@yahoo.com                                                          section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          July 30, 2013
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                   Case 13-30352                Doc 1    Filed 07/30/13 Entered 07/30/13 16:15:13                      Desc Main
                                                                     B1D (Official Form 1, Exhibit D) (12/09)              Document     Page 8 of 34
                                                                                                                          United States Bankruptcy Court
                                                                                                                            Northern District of Illinois

                                                                     IN RE:                                                                                           Case No.
                                                                     Revilla, Rodolfo                                                                                 Chapter 7
                                                                                                                   Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.
                                                                        1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Rodolfo Revilla
                                                                     Date: July 30, 2013
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                                                                     B6 Summary (Form 6 - 13-30352
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                                                                                                                                    Northern District of Illinois

                                                                     IN RE:                                                                                                                Case No.
                                                                     Revilla, Rodolfo                                                                                                      Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $                  0.00



                                                                      B - Personal Property                                           Yes                          3 $            3,189.30



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $                 0.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          3                           $          18,935.00
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           2,420.86
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           3,004.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      15 $             3,189.30 $              18,935.00
                                                                                    Case
                                                                     Form 6 - Statistical    13-30352
                                                                                          Summary (12/07)   Doc 1    Filed 07/30/13 Entered 07/30/13 16:15:13                  Desc Main
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                                                                                                                      United States Bankruptcy Court
                                                                                                                        Northern District of Illinois

                                                                     IN RE:                                                                                       Case No.
                                                                     Revilla, Rodolfo                                                                             Chapter 7
                                                                                                               Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $         0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                           TOTAL        $         0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $     2,420.86

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $     3,004.00

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $     3,874.85


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                       $          0.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                         $          0.00

                                                                      4. Total from Schedule F                                                                                           $    18,935.00

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $    18,935.00
                                                                                   Case
                                                                     B6A (Official Form 6A) 13-30352
                                                                                            (12/07)                Doc 1          Filed 07/30/13 Entered 07/30/13 16:15:13                                                         Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                                  Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     None
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                                                                                                                                                                                      TOTAL                                          0.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                                    Case
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                                                                     IN RE Revilla, Rodolfo                                                                                                 Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on Hand                                                                                                                    20.00
                                                                        2. Checking, savings or other financial            Fifth Third Bank                                                                                                              448.30
                                                                           accounts, certificates of deposit or            Checking Acct # 7236017914
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Bed, dresser, nightstand, color tv 36", coffee table, sofa, dining                                                          1,200.00
                                                                           include audio, video, and computer              table 2 chair
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                                                      500.00
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                                    Case
                                                                     B6B (Official Form 6B) 13-30352
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                                                                     IN RE Revilla, Rodolfo                                                                                      Case No.
                                                                                                                             Debtor(s)                                                                         (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                      N                                                                                               DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                                PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                  DEDUCTING ANY
                                                                                                                      E                                                                                                SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                      15. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                        X
                                                                      17. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor       X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life          X
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                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              2000 Volvo S70 4 door Fair Condition                                                                  1,021.00
                                                                          other vehicles and accessories.                 miles 168,000
                                                                      26. Boats, motors, and accessories.             X
                                                                      27. Aircraft and accessories.                   X
                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      30. Inventory.                                  X
                                                                      31. Animals.                                    X
                                                                      32. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      33. Farming equipment and implements.           X
                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                                    Case
                                                                     B6B (Official Form 6B) 13-30352
                                                                                            (12/07) - Cont.     Doc 1    Filed 07/30/13 Entered 07/30/13 16:15:13                          Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                Case No.
                                                                                                                        Debtor(s)                                                                                (If known)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                 N                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                 O                                                                                                       PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                 N                                                                                                         DEDUCTING ANY
                                                                                                                 E                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                      35. Other personal property of any kind    X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                          TOTAL                                   3,189.30
                                                                                                                                                                     (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                                   Case
                                                                     B6C (Official Form 6C) 13-30352
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                                                                     IN RE Revilla, Rodolfo                                                                                           Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on Hand                                                 735 ILCS 5 §12-1001(b)                                                  20.00                     20.00
                                                                     Fifth Third Bank                                             735 ILCS 5 §12-1001(b)                                                448.30                     448.30
                                                                     Checking Acct # 7236017914
                                                                     Bed, dresser, nightstand, color tv 36",                      735 ILCS 5 §12-1001(b)                                              1,200.00                 1,200.00
                                                                     coffee table, sofa, dining table 2 chair
                                                                     Clothing                                                     735 ILCS 5 §12-1001(a)                                                500.00                     500.00
                                                                     2000 Volvo S70 4 door Fair Condition                         735 ILCS 5 §12-1001(c)                                              1,021.00                 1,021.00
                                                                     miles 168,000
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                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                   Case
                                                                     B6D (Official Form 6D) 13-30352
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                                                                     IN RE Revilla, Rodolfo                                                                                                                     Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $

                                                                     ACCOUNT NO.




                                                                                                                                                                   Value $
                                                                                                                                                                                                                       Subtotal
                                                                            0 continuation sheets attached                                                                                                 (Total of this page) $                                                     $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                                    Case
                                                                     B6E (Official Form 6E) 13-30352
                                                                                            (04/13)                  Doc 1         Filed 07/30/13 Entered 07/30/13 16:15:13                                         Desc Main
                                                                                                                                    Document     Page 18 of 34
                                                                     IN RE Revilla, Rodolfo                                                                                                    Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                                    Case
                                                                     B6F (Official Form     13-30352
                                                                                        6F) (12/07)                 Doc 1          Filed 07/30/13 Entered 07/30/13 16:15:13                                                          Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                                                       Case No.
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. XXXXXX7469                                                                               Opened 5/2007
                                                                     American Honda                                                                                       Purchased Motocycle, no longer in his
                                                                     GE Capital                                                                                           possession.
                                                                     C/O P. O. Box 965036                                                                                 Judgment entered Case No. 2011-M1-173128
                                                                     Orland, FL 32896                                                                                     Its/his/hers/theirs Successors and/or Assigns.
                                                                                                                                                                                                                                                                                   9,117.00
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     Meyer & Njus PA                                                                                      American Honda
                                                                     29 S. LaSalle St., Suite 635
                                                                     Chicago, IL 60603



                                                                     ACCOUNT NO. XXXXXX1225                                                                               Opened 8/20/12
                                                                     ATT Mobility                                                                                         Cell Phone Bill
                                                                     C/O EOS CCA                                                                                          Its/his/hers/theirs Successors and/or Assigns.
                                                                     700 Longwater Dr.
                                                                     Norwell, MA 02061
                                                                                                                                                                                                                                                                                     739.00
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                     EOS CCA                                                                                              ATT Mobility
                                                                     700 Longwater Dr.
                                                                     Norwell, MA 02061


                                                                                                                                                                                                                                           Subtotal
                                                                            2 continuation sheets attached                                                                                                                     (Total of this page) $                              9,856.00
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     13-30352
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 07/30/13 Entered 07/30/13 16:15:13                                                           Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                                                     Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. XXXXXX5830                                                                             Opened 4/2001
                                                                     Chase                                                                                              Credit Debt charges for miscellaneous goods
                                                                     P. O. Box 901039                                                                                   purchased.
                                                                     Fort Worth, TX 76101                                                                               Its/his/hers/theirs Successors and/or Assigns.

                                                                                                                                                                                                                                                                                   129.00
                                                                     ACCOUNT NO. ComEd 26499 Callers 3542                                                               Account Opened 7/2010
                                                                     ComEd                                                                                              Electricity Bill.
                                                                     C/O Contract Callers, Inc                                                                          Its/his/hers/theirs Successors and/or Assigns.
                                                                     1058 Claussen Rd, Ste 110
                                                                     Augusta, GA 30907
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                                                                                                                                                                                                                                                                                   352.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Contract Collaer, Inc.                                                                             ComEd
                                                                     1058 Claussen Rd., Ste 110
                                                                     Augusta, GA 30907-0000



                                                                     ACCOUNT NO. XXXXXX0391                                                                             Opened 5/2007
                                                                     GE CRB Financing                                                                                   Credit taken to complete the purchase of
                                                                     P. O. Box 965036                                                                                   Motocycle, no longer in his possession.
                                                                     Orlando, FL 32896                                                                                  Its/his/hers/theirs Successors and/or Assigns.

                                                                                                                                                                                                                                                                                 7,444.00
                                                                     ACCOUNT NO. XXXXXX1997                                                                             Opened 12/2011
                                                                     HSBC Bank Nevada N.A.                                                                              Credit Debt charges for miscellaneous goods
                                                                     C/O Midland Fundiing                                                                               purchased.
                                                                     8875 Aero Dr., Suite 200                                                                           Its/his/hers/theirs Successors and/or Assigns.
                                                                     San Diego, CA 92123
                                                                                                                                                                                                                                                                                   666.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Midland Fund                                                                                       HSBC Bank Nevada N.A.
                                                                     8875 Aero Drive
                                                                     San Diego, CA 92123



                                                                     ACCOUNT NO. 4908                                                                                   Opened 2/20/2012
                                                                     Sprint                                                                                             Cellular phone bill.
                                                                     C/O Enhanced Recovery Co. L                                                                        Its/his/hers/theirs Successors and/or Assigns.
                                                                     8014 Bayberry Rd
                                                                     Jacksonvill, FL 32258
                                                                                                                                                                                                                                                                                   488.00
                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              9,079.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     13-30352
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 07/30/13 Entered 07/30/13 16:15:13                                                           Desc Main
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                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Enhanced Recovery Co L                                                                             Sprint
                                                                     8014 Bayberry Road
                                                                     Jacksonville, FL 32256



                                                                     ACCOUNT NO.
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                             18,935.00
                                                                                   Case
                                                                     B6G (Official Form 6G)13-30352
                                                                                           (12/07)                  Doc 1          Filed 07/30/13 Entered 07/30/13 16:15:13                                         Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                                    Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                   Case
                                                                     B6H (Official Form 6H)13-30352
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                                                                     IN RE Revilla, Rodolfo                                                                                                     Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                    Case
                                                                     B6I (Official Form      13-30352
                                                                                        6I) (12/07)               Doc 1         Filed 07/30/13 Entered 07/30/13 16:15:13                                          Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                               Case No.
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Divorced                                    RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Mother                                                                                                       69




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation                Maintenance
                                                                      Name of Employer          Pactiv
                                                                      How long employed         7 months
                                                                      Address of Employer       1900 W. Field CT
                                                                                                Lake Forest, IL 60045-0000

                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               3,943.92 $
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                                                                     2. Estimated monthly overtime                                                                                            $                 308.74 $
                                                                     3. SUBTOTAL                                                                                                              $               4,252.66 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                   845.16 $
                                                                       b. Insurance                                                                                                           $                    24.68 $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify) See Schedule Attached                                                                               $                   961.96 $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $               1,831.80 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               2,420.86 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                               $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               2,420.86 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                2,420.86
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                                Case 13-30352       Doc 1    Filed 07/30/13 Entered 07/30/13 16:15:13            Desc Main
                                                                                                              Document     Page 25 of 34
                                                                     IN RE Revilla, Rodolfo                                                         Case No.
                                                                                                            Debtor(s)

                                                                                              SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                 Continuation Sheet - Page 1 of 1

                                                                                                                                                               DEBTOR        SPOUSE
                                                                     Other Payroll Deductions:
                                                                     401 K                                                                                      272.78
                                                                     Dental                                                                                      13.02
                                                                     Medical Ins.                                                                                79.47
                                                                     Vision                                                                                       4.79
                                                                     STD BUYUP                                                                                   63.51
                                                                     Garnishment                                                                                493.37
                                                                     Savg Loan Gen                                                                                9.30
                                                                     Child Support                                                                               25.72
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                                                                                    Case
                                                                     B6J (Official Form      13-30352
                                                                                        6J) (12/07)                Doc 1         Filed 07/30/13 Entered 07/30/13 16:15:13                                      Desc Main
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                                                                     IN RE Revilla, Rodolfo                                                                                                Case No.
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              800.00
                                                                         a. Are real estate taxes included? Yes      No
                                                                         b. Is property insurance included? Yes      No
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $                75.00
                                                                         b. Water and sewer                                                                                                                             $
                                                                         c. Telephone                                                                                                                                   $              100.00
                                                                         d. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $
                                                                     4. Food                                                                                                                                            $              600.00
                                                                     5. Clothing                                                                                                                                        $               50.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $               90.00
                                                                     7. Medical and dental expenses                                                                                                                     $               50.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              400.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $              250.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $                59.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                      $
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $              330.00
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other Support Payment To Mother                                                                                                                $              200.00
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            3,004.00


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            2,420.86
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            3,004.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $             -583.14
                                                                     B6 DeclarationCase
                                                                                   (Official13-30352          Doc(12/07)
                                                                                            Form 6 - Declaration)   1            Filed 07/30/13 Entered 07/30/13 16:15:13                                        Desc Main
                                                                                                                                  Document     Page 27 of 34
                                                                     IN RE Revilla, Rodolfo                                                                                              Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      17 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: July 30, 2013                                  Signature: /s/ Rodolfo Revilla
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Rodolfo Revilla

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                    Case
                                                                     B7 (Official Form      13-30352
                                                                                       7) (04/13)               Doc 1        Filed 07/30/13 Entered 07/30/13 16:15:13                               Desc Main
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                                                                                                                              United States Bankruptcy Court
                                                                                                                                Northern District of Illinois

                                                                     IN RE:                                                                                                       Case No.
                                                                     Revilla, Rodolfo                                                                                             Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 10,049.47 Year to date 5/3/2013 income from wages
                                                                                 14,774.00 2012 year Income Tax Return
                                                                                 26,159.00 2011 income from wages $7,062.00. Unemployement benefits $19,097.00

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                             who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE
                                                                     BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                     OF PROPERTY
                                                                     GE Capital Retail                                                2/8/213                             Garnishment for unsatisfied judgment.
                                                                     C/O Meyer & Njust PA
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                                                                     29 S. LaSalle St., Ste 635
                                                                     Chicago, IL 60603-0000

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                             gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Jesus G. Salazar                                                 3/8/2013                                                             1,500.00
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                                                                     4111 S. Richmond St.
                                                                     Chicago, IL 60632-0000

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                             device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                             case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.


                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.
                                                                     ADDRESS                                                           NAME USED                                               DATES OF OCCUPANCY
                                                                     1302 S. Troy St., Chicago, IL 60623                               Rodolfo Revilla                                         7/2010 to 9/2012

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                             potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.
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                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                             the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.



                                                                     [If completed by an individual or individual and spouse]
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                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: July 30, 2013                              Signature /s/ Rodolfo Revilla
                                                                                                                      of Debtor                                                                                 Rodolfo Revilla

                                                                     Date:                                            Signature
                                                                                                                      of Joint Debtor
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                                                                          United States Bankruptcy Court
                                                                                                                            Northern District of Illinois

                                                                     IN RE:                                                                                        Case No.
                                                                     Revilla, Rodolfo                                                                              Chapter 7
                                                                                                                   Debtor(s)

                                                                                                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                     PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
                                                                     estate. Attach additional pages if necessary.)
                                                                      Property No. 1
                                                                      Creditor’s Name:                                                        Describe Property Securing Debt:

                                                                      Property will be (check one):
                                                                          Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
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                                                                          Claimed as exempt            Not claimed as exempt

                                                                      Property No. 2 (if necessary)
                                                                      Creditor’s Name:                                                        Describe Property Securing Debt:

                                                                      Property will be (check one):
                                                                          Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt            Not claimed as exempt
                                                                     PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                                                                     additional pages if necessary.)
                                                                      Property No. 1
                                                                      Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No

                                                                      Property No. 2 (if necessary)
                                                                      Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No
                                                                           continuation sheets attached (if any)
                                                                     I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
                                                                     personal property subject to an unexpired lease.

                                                                     Date:           July 30, 2013                      /s/ Rodolfo Revilla
                                                                                                                        Signature of Debtor

                                                                                                                        Signature of Joint Debtor
                                                                                Case 13-30352         Doc 1      Filed 07/30/13 Entered 07/30/13 16:15:13                 Desc Main
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                                                                                                                  United States Bankruptcy Court
                                                                                                                    Northern District of Illinois

                                                                     IN RE:                                                                                Case No.
                                                                     Revilla, Rodolfo                                                                      Chapter 7
                                                                                                           Debtor(s)

                                                                                                           VERIFICATION OF CREDITOR MATRIX
                                                                                                                                                                    Number of Creditors            12

                                                                     The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.


                                                                     Date: July 30, 2013                     /s/ Rodolfo Revilla
                                                                                                             Debtor



                                                                                                             Joint Debtor
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Revilla, Rodolfo                            HSBC Bank Nevada N.A.
6123 S. Troy                                C/O Midland Fundiing
Chicago, IL 60629                           8875 Aero Dr., Suite 200
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GE Capital                                  8875 Aero Drive
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ATT Mobility                                Sprint
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700 Longwater Dr.                           8014 Bayberry Rd
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Chase
P. O. Box 901039
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ComEd
C/O Contract Callers, Inc
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